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 Proposed Attorneys for the Debtors

                                                       : UNITED STATES BANKRUPTCY COURT
 In re:                                                : FOR THE DISTRICT OF NEW JERSEY
                                                       :
 SHAPES/ARCH HOLDINGS L.L.C., et                       : CHAPTER 11
 al.,
                                                          CASE NO. 08-14631 (GMB)
                       Debtors.                           (Jointly Administered)


          AMENDED MOTION FOR AN ORDER AUTHORIZING THE
     DEBTORS TO RETAIN, EMPLOY AND COMPENSATE PROFESSIONALS
      IN THE ORDINARY COURSE NUNC PRO TUNC TO MARCH 16, 20081

          Shapes/Arch Holdings L.L.C. and its related debtor entities (collectively the “Debtors”)2

 the debtors and debtors-in-possession, hereby submit their amended motion (the “Motion”) for

 entry of an order authorizing the Debtors to retain, employ and compensate professionals in the

 ordinary course nunc pro tunc to March 16, 2008. In support of this Motion, the Debtors

 respectfully represent as follows:




 1 The Debtors have amended only paragraphs 37 and 38 of the Motion which pertain to the proposed payment
 procedures for the Ordinary Course Professionals (defined below).
 2
   In addition to Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), the following entities, all of which are wholly owned
 subsidiaries or Shapes/Arch, also filed petitions on the Petition Date (defined below): Shapes L.L.C. (“Shapes”);
 Delair L.L.C. (“Delair”); Accu-Weld L.L.C. (“Accu-Weld”); and Ultra L.L.C. (“Ultra”).



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                                              Background

         1.       On March 16, 2008 (the “Petition Date”), the Debtors filed their respective

 petitions for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy

 Code”).

         2.       These cases are being jointly administered pursuant to this Court’s Order of

 March 18, 2008 under the lead debtor “Shapes/Arch Holdings L.L.C.”

         3.       The Debtors are operating their businesses and managing their properties as

 debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

         4.       No trustee or examiner has been appointed in these cases. No official committee

 of unsecured creditors has been appointed in these cases.

         5.       The Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. Venue

 is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28

 U.S.C. § 157(b)(2).

                               Description of Debtors and Their Businesses

         6.       Shapes/Arch is a holding company that owns each of the four operating

 companies - Shapes, Delair, Accu-Weld and Ultra. The Debtors’ predecessor was established in

 New Jersey in 1952 to produce aluminum windows. By 1959, the business had expanded and

 began focusing on producing aluminum extrusions. The Debtors have consistently expanded

 their businesses over the years by investing in new facilities and technology and by establishing

 new product lines. On a consolidated basis, the Debtors’ net revenue in 2007 was $273.8

 million, with Shapes generating approximately 65% of that revenue. The Debtors have over

 1000 employees, approximately 70% of whom are members of either the International

 Brotherhood of Teamsters Local 837, or the United Independent Union.



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         7.       Shapes is the largest operating Debtor with 2007 revenue over $179 million and

 over 600 employees. Shapes is a leading producer of custom aluminum extrusions for a variety

 of industries, including road and rail transportation and commercial and residential construction.

 Aluminum extrusion is a process by which a heated aluminum billet is rammed through a die to

 create the intended shape. The extruded aluminum exits the press, is cooled and then cut to the

 necessary lengths. Shapes distinguishes itself in the industry because of its extensive large press

 capacity and because all of its casting, extruding, fabricating and finishing is completed in one

 facility. Shapes’ 525,000 square foot facility, which is located in Delair, New Jersey, operates

 twenty-four hours per day, seven days a week, with its casthouse (to produce the billets to be

 pushed through the presses), eight presses of varying sizes, a paint line, an anodizing line and a

 variety of other fabrication equipment. Shapes can produce and ship over 400,000 pounds of

 extruded aluminum per day. Shapes has been recognized in the “Guinness Book of World

 Records” for the largest free standing aluminum structure ever created in connection with the

 restoration of the Statue of Liberty. Shapes also provided the aluminum scaffolding used in

 connection with the restoration of the Washington Monument.

         8.       In 2007 Shapes’ revenues decreased by approximately $35 million compared to

 2006. This decrease is, at least in part, attributable to the fact that 65% of Shapes’ sales are to the

 trailer, truck body and railcar sectors, all of which have been experiencing an economic

 downturn.

         9.       Delair manufactures maintenance free aluminum fence systems for residential and

 commercial use, and manufactures America’s most recognized brand of above-ground pools.

 Both product lines are sold through dealers, distributors and major retailers throughout the

 United States.



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         10.      Delair operates from a 350,000 square foot facility adjacent to Shapes in Delair,

 New Jersey. Delair’s proximity to Shapes provides a competitive advantage because Delair

 purchases approximately 70% of its product line from Shapes.

         11.      Because Delair’s sales are largely tied to consumer spending and the housing

 market, Delair has suffered with that sector of the economy and its 2007 revenues were $5.5

 million less than in 2006.

         12.      Accu-Weld is a vertically integrated manufacturer of made-to-order vinyl

 replacement windows and steel doors. Accu-Weld’s products are sold to installers, dealers and

 home improvement retailers throughout the Northeastern, Mid-Atlantic and Midwestern United

 States. Accu-Weld operates out of a 100,000 square foot facility in Bensalem, Pennsylvania.

 Unlike many of its competitors, Accu-Weld extrudes its own vinyl profiles, which results in

 faster production and delivery to the customer.

         13.      Accu-Weld’s net revenues in 2007 were $24.9 million, down from $37 million in

 2006. The loss of revenue is due principally to Accu-Weld ceasing to do business with certain

 customers that were not profitable or which presented significant, unjustifiable credit risk and the

 general decline of the housing market.

         14.      Ultra is one of the leading suppliers of value branded hardware products in the

 United States, including locksets, door and window hardware and other decorative hardware.

 Ultra has over 8,000 products sourced primarily from China. Ultra’s products are sold to home

 improvement and hardware retailers, hardware cooperatives and distributors, home builders and

 window and door manufacturers.

         15.      Ultra operates from a 75,000 square foot distribution facility in Pennsauken, New

 Jersey, with two million cubic feet of storage space.



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         16.      Ultra’s EBITDA decreased by $2.2 million due primarily to sales of hardware to

 lower margin accounts and the rapid escalation of product costs from China that could not be

 passed on to Ultra’s customers.

                                             The Bank Debt

         17.      Prior to the Petition Date, Shapes, Delair, Accu-Weld and Ultra (as co-borrowers

 and co-guarantors) became indebted to a lender group consisting of The CIT Group/Business

 Credit, Inc. (“CIT”), as agent, and Bank One, National Association (“Bank One”) pursuant to a

 financing agreement, dated December 30, 2003 (as amended from time to time, the “Financing

 Agreement”). The current members of the lender group are CIT, as agent, JPMorgan Chase

 Bank N.A. (successor to Bank One) (“JP Morgan”) and Textron Corporation (the “Lender

 Group”).

         18.      Pursuant to the Financing Agreement, the Lender Group provided financing in the

 form of revolving loans (based upon a percentage of eligible inventory and accounts receivable),

 term loan, and letters of credit. The Financing Agreement was amended on fifteen occasions,

 most recently on or about March 6, 2008, principally to address the needs of the Debtors to

 borrow funds in excess of what was available based upon their eligible inventory and accounts in

 light of the cyclical nature of the Debtors’ businesses. The fifteenth amendment enabled the

 Debtors to borrow up to $4.4 million beyond its available borrowing base (the “PP&E Equity

 Borrowing Base Component”), and required that the Debtors re-pay the PP&E Equity Borrowing

 Base Component on or before March 14, 2008.

         19.      As of the Petition Date, the Financing Agreement provided for a maximum total

 credit facility of $75.7 million, and a maximum line of credit of $67 million. Shapes/Arch and

 its parent, Ben LLC, are guarantors of the debt to the Lender Group. The Lender Group has a

 first priority lien on and security interest in substantially all of the Debtors’ assets, including,

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 without limitation, all accounts receivable, inventory, machinery and equipment and real

 property, and the proceeds thereof.

         20.      As of the Petition Date, the outstanding borrowings from the Lender Group were

 as follows: (i) revolving loans totaling approximately $47.72 million (inclusive of the PP&E

 Equity Borrowing Base Component); (ii) term loans totaling approximately $8.35 million; and

 (iii) letters of credit totaling approximately $3.55 million for an aggregate indebtedness to the

 Lender Group in the amount of $59.62 million (the “Bank Debt”).

                                           Reasons for Filing

         21.      The Debtors’ Chapter 11 filings were precipitated by a number of factors. The

 principal factor leading to the Debtors’ filings is that the economic sectors in which the Debtors

 operate have experienced a downturn, which decline has affected the Debtors’ revenues and

 EBITDA beginning in late 2006 and continuing through the first quarter of 2008. The Debtors’

 revenue decreased by about fifteen percent (15%) from $322 million in 2006 to $274 million in

 2007, with projected revenue in 2008 of $262 million. The Debtors’ EBITDA plummeted from

 about $21 million in 2006 to about $3.7 million in 2007. The Debtors have been unable to

 remain current with creditors, in particular, utilities and major suppliers, because of this

 downturn.

         22.      With the contraction in purchases by the Debtors’ customer base and the Debtors’

 overhead remaining largely static, the Debtors have been struggling to fund their operations

 under their existing lending arrangement and find themselves in a situation in which they can not

 repay the PP&E Borrowing Base Component or pay past due obligations to venders in excess of

 $15 million.

         23.      Over the course of the four months prior to the Petition Date, the Lender Group

 worked with the Debtors to attempt to find a solution. In late 2007, CIT Capital Securities LLC,

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 an affiliate of the agent for the Lender Group, was engaged to attempt to obtain additional

 financing for the business. Despite their efforts, they were unable to identify any lender willing

 to provide additional, subordinated, financing to the Debtors or to refinance the Bank Debt.

         24.      Closer to the Petition Date, the Debtors explored a possible sale/leaseback

 transaction with certain third parties. The Debtors, however, were not successful in negotiating a

 transaction that would adequately address the Debtors’ needs going forward.

         25.      The Debtors also explored potential sale opportunities with existing management

 and third parties, but elected not to pursue these potential opportunities in favor of the Versa

 transaction (described hereinbelow) because the Versa transaction presents a better opportunity

 to preserve the going concern and maximize a recovery for all creditor constituencies.

                                           The White Knight

         26.      With the Debtors’ need for borrowings in excess of the borrowing base provided

 for in the Financing Agreement projected to increase to over $7.4 million during the period

 shortly after the Petition Date, without factoring in any payment to restructuring professionals or

 to venders on the past due trade debt, and the Lender Group’s inability and unwillingness to fund

 any additional overadvance, the Debtors’ continued ability to operate was in substantial doubt

 without a quick and efficient transaction.

         27.      In January, 2008, the Debtors began a dialogue with Versa Capital Management,

 Inc. (“Versa”), a Philadelphia based private equity firm, to discuss Versa’s interest in a possible

 transaction. Versa expressed interest and conducted extensive due diligence with respect to the

 Debtors’ businesses in late January.

         28.      Also during this time frame, the Debtors retained Phoenix Management Services,

 Inc. (“Phoenix”), a turnaround and crisis management firm, to (i) assist the Debtors in working

 with the Lender Group; (ii) develop cash flow models to determine how severe the Debtors’

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 liquidity issues were and would become over the following weeks and months; and (iii) explore

 the Debtors’ alternatives.

         29.      In February, Versa, the Debtors and representatives of the owners of Ben LLC

 engaged in arms length negotiations which culminated in an agreement whereby Arcus ASI

 Funding, LLC and Arcus ASI, Inc. (affiliates of Versa, hereinafter “Arcus”), would, among other

 things, commit to lend up to $25 million to the Debtors during the Chapter 11 proceedings (and

 provide additional funding and an equity infusion to help the Debtors reorganize). As part of that

 agreement, Arcus became a manager of (but not a member of) Shapes/Arch (with 79.9% of the

 voting rights) and Ben LLC retained 100% of the ownership rights and 20.1% of the voting

 rights. This transaction was made subject to many terms and conditions, including Versa’s

 ability to reach an agreement with the Lender Group with respect to the terms and conditions of

 Versa’s investment in the Debtors’ businesses as part of a plan of reorganization, as well as

 obtaining the Lender Group’s commitment to provide debtor-in-possession and exit financing for

 the companies. The Debtors, Versa and the Lender Group ultimately reached an agreement on

 the terms and conditions upon which Arcus would provide additional financing to the Debtors

 (and the PP&E Equity Borrowing Base Component would be eliminated) during any Chapter 11

 process, as well as provide an exit facility for the Debtors.

         30.      In light of the available financing from the Lender Group and Versa, and the

 current state of the Debtors’ businesses, the Debtors, their management, representatives of the

 owners of Ben LLC, and Versa agreed that the Debtors would need to seek bankruptcy protection

 in order to effectuate the transaction.

         31.      Contemporaneously with the filing of the petitions, the Debtors filed a debtor-in-

 possession financing motion and a plan and disclosure statement that provide, among other

 things, for the financing of the Debtors’ operations during the Chapter 11 process, exit financing

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 for the Debtors upon confirmation of the Debtors’ plan of reorganization, payment of all

 administrative and priority unsecured claims in full, and a dividend to holders of general

 unsecured claims. An interim order authorizing the Debtors to obtain debtor-in-possession

 financing was entered on March 18, 2008.

         32.      The plan reflects a commitment by (i) the Lender Group to provide the Debtors

 with revolving loans throughout the Chapter 11 proceedings and upon exiting bankruptcy in the

 amount of up to $60 million all on terms and conditions more fully set forth in the applicable

 documents to be executed in favor of the Revolving DIP Lenders, and (ii) Arcus to pay off the

 Lender Group’s term loans, to fund the PP&E Equity Borrowing Base Component, to provide

 additional working capital for the Debtors, and to fund a dividend to creditors, requiring a total

 commitment by Versa of approximately $25 million.

         33.      The Debtors have worked diligently over the several weeks prior to the Petition

 Date, in a difficult setting, toward a solution that will maximize a return for all creditor

 constituencies and at the same time maximize the likelihood that the Debtors’ businesses will

 remain viable so that the Debtors can continue to be one of South Jersey’s largest employers for

 the foreseeable future. The Debtors believe that the plan will achieve these objectives.


                                           Relief Requested

         34.      By this Motion, the Debtors seek entry of an order pursuant to Sections 105(a) and

 327 of the Bankruptcy Code and Rule 2014 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), authorizing the Debtors to retain, employ and compensate professionals,

 nunc pro tunc to March 16, 2008, for specific services rendered to the Debtors in the ordinary

 course of business pursuant to the terms and conditions set forth herein.




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                                     Basis For Relief Requested

         35.      In the ordinary course of operating their businesses, the Debtors retain and employ

 different professional firms that provide, among other things, legal, accounting and consulting

 services. In order to minimize any disruption to their operations, the Debtors seek authority to

 retain the professionals listed on Exhibit “A” (the “Ordinary Course Professionals”) nunc pro

 tunc to March 16, 2008, and other professionals the Debtors may require from time to time

 during the pendency of these Chapter 11 cases, to render discrete services to the Debtors in a

 variety of matters affecting their day-to-day business operations. The services of the Ordinary

 Course Professionals will not include the administration of the Debtors’ Chapter 11 cases.

         36.      The Debtors seek authority to continue the employment of such Ordinary Course

 Professionals post-petition without requiring each Ordinary Course Professional to file formal

 applications for employment and compensation pursuant to Sections 327, 328, 329 and 330 of

 the Bankruptcy Code. Due to the number of the Ordinary Course Professionals that the Debtors

 wish to retain, it would be unwieldy and burdensome on both the Debtors and this Court to

 request each such Ordinary Course Professional to apply separately for approval of its

 employment and compensation. Consistent with the dimensions of these Chapter 11 cases, the

 Debtors request that they be permitted to employ and retain the Ordinary Course Professionals on

 terms substantially similar to those in effect prior to the Petition Date, but subject to the terms

 described below.


                                    Payment of Fees and Expenses

         37.      The Debtors propose that they be permitted to pay, without formal application to

 the Court by any Ordinary Course Professional, 100% of the interim fees and disbursements to

 each of the Ordinary Course Professionals upon the submission to the Debtors of reasonably


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 detailed invoices setting forth the nature of the services rendered and calculated in accordance

 with such Ordinary Course Professional’s standard billing practices; provided, however, that no

 Ordinary Course Professional receives interim fees and reimbursements that exceed an average

 of $5,000 per month, and no more than $25,000 per Ordinary Course Professional during the

 pendency of these cases. The Debtors, however, reserve the right to make a motion to increase

 the aggregate amount per month authorized to be paid to all Ordinary Course Professionals.

         38.      In the event that any single Ordinary Course Professional’s fees exceed $25,000,

 during the course of these cases, such professional would be required to apply for approval by the

 Court of all fees and disbursements the professional incurred, but would be entitled to an interim

 payment up to the amount of $5,000 per month of service as a credit against the fees and

 disbursements ultimately allowed by the Court.

         39.      In addition to professionals paid by the hour, the Debtors, in the ordinary course

 prior to the Petition Date, have retained attorneys to collect outstanding accounts receivable on a

 contingency basis (the “Contingency Fee Attorneys”). As part of this Motion, the Debtors seek

 authority to retain contingency Fee Attorneys in the ordinary course of their businesses without

 the Contingency Fee Attorneys being subject to the monthly limits proposed above.


                                   The Submission of Rule 2014 Affidavits

         40.      In order to be retained and compensated by the Debtors, each Ordinary Course

 Professional must comply with Bankruptcy Rule 2014. The Debtors propose that while the

 Debtors be permitted to continue to employ, retain and compensate all Ordinary Course

 Professionals identified in Exhibit “A”, each Ordinary Course Professional nonetheless be

 required to file with the Court and serve upon: (a) counsel for the Lender Group, (b) counsel for

 Versa, (c) the Office of the United States Trustee, (d) counsel for the Committee, if appointed,


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 and if none appointed, the Debtors’ consolidated list of top 30 unsecured creditors (but no less

 than the five largest unsecured creditors from each case), (e) the undersigned counsel to the

 Debtors, and (f) all parties on the Master Service List the following: (i) an affidavit describing

 the nature of the professional’s services and its billing procedures and practices and disclosing

 whether the professional holds any interests adverse to the Debtors or their estates, prior to such

 Professional receiving any post-petition payments from the Debtors (the “Affidavit”) a form of

 which is annexed hereto as Exhibit “B”, and (ii) a completed retention questionnaire (the

 “Retention Questionnaire”) a form of which is annexed hereto as Exhibit “C”.

         41.      During the pendency of these Chapter 11 cases, the Debtors may identify other

 professionals whose services are needed to consummate certain transactions or address other

 matters that may arise in the ordinary course of the Debtors’ businesses. Accordingly, the

 Debtors also request that they be authorized and empowered to employ and retain additional

 Ordinary Course Professionals from time to time, as necessary, in the ordinary course of their

 businesses without the need to file individual retention applications. In such event, the Debtors

 propose to file a supplement to Exhibit “A” (the “Supplement”) with this Court and serve it

 upon: (a) counsel for the Lender Group, (b) counsel for Versa, (c) the Office of the United States

 Trustee, (d) counsel for the Committee, if appointed, and if none appointed, the Debtors’

 consolidated list of top 30 unsecured creditors (but no less than the five largest unsecured

 creditors from each case) and (e) parties on the Master Service List. An Ordinary Course

 Professional that is listed on a Supplement must file its Affidavit and Retention Questionnaire

 with the Court and serve it upon those parties listed in the preceding sentence contemporaneously

 with the filing of the Supplement with the Court.

         42.      The Debtors further propose the following procedures for parties in interest to

 object to the retention of a particular Ordinary Course Professional whether listed on Exhibit “A”

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 to this Motion or a Supplement. The Debtors propose that the parties listed in paragraph 40 and

 any other party-in-interest served with the Affidavit and Retention Questionnaire shall have ten

 days after the receipt of each Ordinary Course Professional’s Affidavit and Retention

 Questionnaire (the “Objection Deadline”) to object to the retention of such Professional. The

 parties listed in paragraph 40 and any other party-in-interest shall file their objection with the

 Court and serve it upon the Debtors’ counsel, the Ordinary Course Professional and the United

 States Trustee on or before the Objection Deadline. If any such objection cannot be resolved

 within ten days after it is filed, the matter shall be scheduled for a hearing before the Court at the

 next regularly scheduled hearing date or other date otherwise agreeable to the Ordinary Course

 Professional, the Debtors and the objecting party. If no objection is filed within ten days after an

 Ordinary Course Professional has filed its Affidavit and Retention Questionnaire, the Debtors

 shall be authorized to retain such Ordinary Course Professional as a final matter without further

 order of the Court.


                             Retention of the Ordinary Course Professionals
                              is in the Best Interests of the Debtors’ Estates

         43.      The Debtors submit that the continued employment and compensation of the

 Ordinary Course Professionals is in the best interests of their estates, creditors and other parties-

 in-interest. While the Ordinary Course Professionals may wish to continue to represent the

 Debtors on an ongoing basis, many may be unwilling to do so if they are unable to be paid on a

 regular basis. Given the discrete nature of the services the Ordinary Course Professionals will

 provide, it is more efficient and cost-effective for the Debtors’ estates to forego the requirement

 that each such professional file a retention application.

         44.      Moreover, the Debtors would likely incur expenses related to the Ordinary Course

 Professionals preparing and obtaining approval of fee applications which cost can largely be

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 avoided under the procedure proposed in this Motion. If the Debtors are unable to retain and

 compensate these Ordinary Course Professionals with respect to the particular areas and matters

 for which they were responsible prior to the Petition Date, the Debtors’ estates will undoubtedly

 incur additional and unnecessary expenses, as the Debtors will have to retain other professionals

 who lack the background in the Debtors’ operations or the expertise in particular matters. It is in

 the best interests of the Debtors’ estates and their creditors that the Debtors avoid any disruption

 in the professional services required by the day-to-day operation of their business.

         45.      Relief similar to that sought herein has been granted in comparable Chapter 11

 cases in this District. See, e.g., In re THCR/LP Corporation, Case No. 04-46898 (JHW) (Bankr.

 D.N.J. November 22, 2004) (order authorizing employment of professionals utilized in the

 ordinary course of business).


                      Retention of The Ordinary Course Professionals Listed on
                      Exhibit A Nunc Pro Tunc to March 16, 2008 is Appropriate

         46.      Since the inception of these Chapter 11 cases, the Debtors’ management and their

 retained professionals have been consumed with exigent administrative and operational matters

 typically encountered in a Chapter 11 case. Specifically, the Debtors have been primarily

 focused on stabilizing their day-to-day operations, finalizing the debtor-in-possession financing

 arrangements with their secured lenders, complying with the initial reporting requirements of the

 Office of the United States Trustee, determining adequate assurance of certain utility providers in

 addition to attending to the day-to-day operation of the Debtors’ businesses. Therefore, the

 Debtors were not able to immediately identify the ordinary course professionals whose services

 they would require during the course of these Chapter 11 cases.

         47.      Certain of the Ordinary Course Professionals have continued to provide necessary

 services to the Debtors since the Petition Date and the Debtors have now determined that they

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 require the services of the Ordinary Course Professionals listed on Exhibit “A” in order to

 continue to operate their businesses in the ordinary course without disruption. Accordingly, the

 Debtors believe that it is necessary and appropriate to retain the Ordinary Course Professionals

 nunc pro tunc to March 16, 2008.

                                                Notice

         48.      Notice of this Motion has been provided to: (a) counsel for the Lender Group, (b)

 counsel for Versa, (c) the Office of the United States Trustee, (d) the Internal Revenue Service,

 (e) the New Jersey Attorney General, (f) the Commonwealth of Pennsylvania Department of

 Revenue, (g) the Debtors’ consolidated list of top 30 unsecured creditors (but no less than the

 five largest unsecured creditors from each case), and (h) all parties on the Master Service List. In

 light of the nature of the relief requested herein, the Debtors submit that no further notice is

 necessary.

         WHEREFORE, the Debtors respectfully request that the Court enter an order authorizing

 the Debtors to retain, employ and compensation professionals in the ordinary course nunc pro

 tunc to March 16, 2008; and grant such other and further relief as is just and proper.


 Dated: April 3, 2008                   COZEN O’CONNOR

                                                By:       /s/ Jerrold N. Poslusny, Jr.
                                                      Mark E. Felger
                                                      Jerrold N. Poslusny, Jr.

                                                      Proposed Attorneys for the Debtors




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                                           EXHIBIT A

                          Name of Professional                       Services Provided

 1.    Panitch Schwarze Belisario & Nadel, LLP                Legal Services – Intellectual
       One Commerce square                                    Property
       2005 Market Street, Suite 2200
       Philadelphia, PA 19103

       Contacts: Ronald Panitch, Esq. and Martin Belisario,
       Esq.


 2.    Manko, Gold & Katcher                                  Legal Service – Environmental
       Cherry Tree Corp. Center                               Law (Counseling and
       535 Route 38, Suite 320                                Compliance)
       Cherry Hill, NJ 08002

       Contact: Bruce Katcher, Esq.

 3.    Borges & Associates LLC                                Legal Services – Collections
       575 Underhill Blvd.                                    (Accu-Weld)
       Syosset, NY 11791

       Contact: Wanda Borges, Esq.

 4.    ROUX Associates Inc.                                   Environmental Consulting
       1222 Forest Parkway, Suite 190
       West Deptford, NJ 08066

       Contact: Greg Martin

 5.    Ballard Spahr Andrews & Ingersoll, LLP                 Legal Services – Insurance
       Plaza 1000, Suite 500                                  Coverage for Environmental
       Main Street                                            Litigation
       Voorhees, NJ 08043-4636

       Contact: Glenn Harris, Esq.

 6.    Latsha, Davis, Yohe and McKenna, P.C.                  Legal Services – Environmental
       350 Eagleview Boulevard, Suite 100                     Litigation
       Exton, PA 19341

       Contact: Kevin McKenna, Esq.




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 7.    McCarter and English                                 Legal Services – Appeal Real
       100 Mulberry Street                                  Estate Tax Assessment
       Newark, NJ 07102

       Contact: Frank E. Ferrugia




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                                            EXHIBIT “B”

 MARK E. FELGER (MF9985)
 JERROLD N. POSLUSNY, JR. (JP7140)
 COZEN O’CONNOR
 LibertyView, Suite 300
 457 Haddonfield Road
 Cherry Hill, NJ 08002
 (856) 910-5000
 (856) 910-5075 (fax)

 Proposed Attorneys for the Debtors

                                                 : UNITED STATES BANKRUPTCY COURT
 In re:                                          : FOR THE DISTRICT OF NEW JERSEY
                                                 :
 SHAPES/ARCH HOLDINGS L.L.C., et                 : CHAPTER 11
 al.,
                                                    CASE NO. 08-14631 (GMB)
                       Debtors.                     (Jointly Administered)


               AFFIDAVIT IN SUPPORT OF ORDINARY COURSE RETENTION

 STATE OF _____________ )
                        ) ss:
 COUNTY OF ____________ )

          [NAME] declares as follows:

          1.      I am a __________ of the firm of ____________ (the “Firm”), which maintains

 offices at [address].

          2.      This Affidavit is submitted in connection with an order of the United States

 Bankruptcy Court for the District of New Jersey dated                               , 2008

 authorizing Shapes/Arch Holdings L.L.C, Shapes L.L.C., Delair L.L.C., Accu-Weld L.L.C. and

 Ultra L.L.C. (the “Debtors”) to retain certain professionals in the ordinary course of business

 during the pendency of the Debtors’ Chapter 11 cases. The Debtors have requested, and the




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 Firm has agreed, to continue to represent and advise the Debtors pursuant to Section 327(e) of

 Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”).

         3.       The Firm has provided, and/or intends to provide, the following services to the

 Debtors from and after the Petition Date:

                                                                                               .

         4.       To the best of my knowledge, information and belief, formed after due inquiry, (i)

 the Firm does not currently provide services to any party in any matter related to the Debtors,

 and (ii) the Firm does not represent or hold an interest adverse to the Debtors.

         5.       The Firm may now, or in the future, provide services to certain creditors of the

 Debtors or other parties in matters to the Debtors and their estates, but in this regard, the Firm’s

 work for these clients will not include representation on any matters relating to the Debtors’

 Chapter 11 cases.

         6.       The Firm further states that it has not shared, nor agreed to share any

 compensation received in connection with these Chapter 11 cases with another party or person,

 other than as permitted by Section 504(b) of the Bankruptcy Code and Bankruptcy Rule 2016.

         7.       The foregoing constitutes the statement of the Firm pursuant to Sections 329 and

 504 of the Bankruptcy Code and Bankruptcy Rules 2014 and 2016(b).


                                                [Name]
                                                [Title]
                                                [Address and phone number]
 Sworn to before me
 this __ day of ______, 2008

 _______________________
 Notary Public



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                                           EXHIBIT “C”

 MARK E. FELGER (MF9985)
 JERROLD N. POSLUSNY, JR. (JP7140)
 COZEN O’CONNOR
 LibertyView, Suite 300
 457 Haddonfield Road
 Cherry Hill, NJ 08002
 (856) 910-5000
 (856) 910-5075 (fax)

 Proposed Attorneys for the Debtors

                                                : UNITED STATES BANKRUPTCY COURT
 In re:                                         : FOR THE DISTRICT OF NEW JERSEY
                                                :
 SHAPES/ARCH HOLDINGS L.L.C., et                : CHAPTER 11
 al.,
                                                 CASE NO. 08-14631 (GMB)
                       Debtors.                  (Jointly Administered)


                                   RETENTION QUESTIONNAIRE

 TO BE COMPLETED BY PROFESSIONALS EMPLOYED BY
 Shapes/Arch Holdings L.L.C, Shapes L.L.C., Delair L.L.C., Accu-Weld L.L.C. and/or Ultra
 L.L.C. (the “Debtors”)

 FILE THIS QUESTIONNAIRE WITH THE COURT.
 RETURN A COPY OF IT TO:

          1.      Shapes/Arch Holdings L.L.C.
                  9000 River Road
                  Delair, NJ 08110
                  Attn: David Gollin, Esq.

          2.      Cozen O’Connor
                  Chase Manhattan Centre
                  1201 North Market St.
                  Suite 140
                  Wilmington, DE 19801
                  Attn: Mark E. Felger, Esq.




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         3.       Cozen O’Connor
                  LibertyView, Suite 300
                  457 Haddonfield Road
                  Cherry Hill, NJ 08002
                  Attn: Jerrold N. Poslusny, Jr., Esq.

         4.       Office of the United States Trustee
                  One Newark Center
                  Suite 2100
                  Newark, NJ 07102
                  Attn: Peter J. D’Auria, Esq.
                  Attn: Jeffrey M. Sponder, Esq.

         5.       Blank Rome LLP
                  One Logan Square
                  130 North 18th Street
                  Philadelphia, PA 19103-6998
                  Attn: Joel Shapiro, Esq.

         6.       Blank Rome LLP
                  The Chrysler Building
                  405 Lexington Ave.
                  New York, NY 10174
                  Attn: Lawrence Flick, Esq.

         7.       Stradley Ronon
                  2600 One Commerce Square
                  Philadelphia, PA 19103
                  Attn: Paul A. Patterson, Esq.
                  Attn: Gary P. Scharmett , Esq.


         If more space is needed, please complete on a separate page and attach.

         1.       Name and address of firm:




         2.       Date of Retention:

         3.       Type of Service Provided (accounting, legal, etc.):




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         4.       Brief description of services to be provided:




         5.       Arrangements for compensation (hourly, contingent, etc.):

                  (a)     Average hourly rate (if applicable):
                  (b)     Estimated average monthly compensation based on pre-
                          petition retention (if firm was employed pre-petition):


         6.       Pre-petition claims against any of the Debtors held by the firm:
                  Amount of claim: $
                  Date claim arose:
                  Source of claim:

         7.       Pre-petition claims against any of the Debtors held individually by
                  any member, associate or professional employee of the firm:

                  Name:
                  Status:
                  Amount of claim: $
                  Date claim arose:
                  Source of claim:



         8.       Disclose the nature and provide a brief description of any interest
                  adverse to the Debtors or to their estates with respect to the matters
                  on which the above-named firm is to be employed:




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